Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 1 of 41 Page ID
                                 #:5178




                      EXHIBIT 2
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 2 of 41 Page ID
                                           #:5179


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               Special Litigation Counsel for Plaintiff
           9   Jeffrey I. Golden, Chapter 7 Trustee

          10
          11                              ARBITRATION BEFORE PHILLIPS ADR

          12
          13 In re:
               ALETHEIA RESEARCH AND                         Chapter 7 Case No. 2:12-bk-47718 BR
          14 MANAGEMENT, INC.,                               (U.S. Bankr. Ct., C.D.Cal.)
          15
                              Debtor.                        Adv. Pro. 2:14-cv-08725-CAS(AGRx)
          16 ________________________________                (U.S. Dist. Ct., C.D.Cal.)

          17 JEFFREY I. GOLDEN, Chapter 7 Trustee of
             Aletheia Research and Management, Inc.,
          18                                                 CLAIMANT’S STATEMENT OF CLAIMS
          19                 Claimant,

          20                       vs.                       Arbitrator: Hon. Gary A. Feess

          21 O’MELVENY & MYERS LLP; STEVEN J.
          22 OLSON, an individual; and J. JORGE
               DENEVE, an individual,
          23
                           Respondents.
          24
          25
          26
          27
          28

                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 3 of 41 Page ID
                                           #:5180


           1 TO THE HONORABLE GARY A. FEESS:
           2           Claimant, Jeffrey I. Golden, in his capacity as the duly appointed and serving chapter 7

           3 Trustee (“Claimant”) of Aletheia Research and Management, Inc., the debtor in the above-captioned
           4 chapter 7 case (“Aletheia” or “Company”), in support of Claimant’s above-captioned adversary
           5 proceeding (“Adversary Proceeding”) against the identified Respondents for the benefit of Aletheia’s
           6 bankruptcy estate (“Estate”), hereby alleges as follows: 1
           7                                                      I.

           8                                             INTRODUCTION

           9           1.     At its core, the action brought by Claimant against O’Melveny & Myers LLP

          10 (“O’Melveny” or “Firm”), Steven J. Olson (“Olson”), and J. Jorge deNeve (“deNeve”) (collectively,
          11 “Respondents”) has its foundation in a clear and intentional violation of Rule 3-310 of the California
          12 Rules of Professional Conduct. Rule 3-310 prohibits the concurrent representation of more than one
          13 client in a matter where the interests of the clients conflict. This ethical rule requires scrupulous
          14 disclosure of potential conflicts; certain conflicts of interest are so substantial they may not be
          15 waived even if disclosed. Flatt v. Superior Ct., 9 Cal. 4th 275, 289 (1994) (“[i]ndeed, in all but a
          16 few instances, the rule of disqualification in simultaneous representation cases is a per se or
          17 ‘automatic’ one”).
          18           2.     In this vein, the case law is clear that an attorney may not concurrently represent a

          19 majority shareholder and the corporation in an action by a minority shareholder alleging
          20 mismanagement and other direct harm to the corporation by officers, directors or other shareholders,
          21 even if the action is not styled as a shareholder derivative action.
          22                  Thus, where a shareholder has filed an action questioning its
                              management or the actions of individual officers or directors, such as in
          23
                              a shareholder derivative or the instant dissolution action, corporate
          24                  counsel cannot represent both the corporation and the officers, directors
                              or shareholders with which the corporation has a conflict of interest.
          25
               1
               Claimant has settled the Estate’s claims against the other defendants named in the Adversary
          26 Proceeding  (not shown in the caption for Arbitration), the law firm of Freedman + Taitelman LLP,
          27 defined below). O’Melveny as counsel to the Company and others in the Proctor Litigation (as
             who  succeeded

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                                                                  1
                                               CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 4 of 41 Page ID
                                           #:5181


           1 La Jolla Cove Motel and Hotel Apartments v. The Superior Court, 17 Cal.Rptr.3d 467, 787 (Aug. 16,
           2 2004) (citations omitted) (emphasis added); and see Gong v. RFG Oil Inc., 166 Cal.App.4th 209,
           3 214 (2008) (“A corporation’s legal advisor must abstain from taking part in controversies among the
           4 corporation’s directors and shareholders ‘to avoid placing the … practitioner in a position where he
           5 may be required to choose between conflicting duties or attempts to reconcile conflicting interests’,”
           6 finding that allegations of personal use of corporate funds by majority shareholder creates actual
           7 conflict with company regardless of whether the claim is styled as “derivative”).
           8          3.      Despite this absolute prohibition, in litigation against the Company and its controlling

           9 shareholders (“Proctor Litigation”) brought by a ten percent (10%) minority shareholder of the
          10 Company (“Proctor”), Respondents undertook to concurrently represent in the Proctor Litigation the
          11 Company as well as those accused of having looted, and continuing to loot, the Company, including
          12 Peter J. Eichler, Jr. (“Eichler”), the Company’s founder, CEO, Chairman, and controlling
          13 shareholder, and Roger Peikin, the Company’s co-founder, former Chief Financial Officer, and a
          14 substantial shareholder (“Peikin”). True and correct copies of Proctor’s New York complaint, and its
          15 cross-complaint in the California action described below, are attached hereto as Exhibit A and
          16 Exhibit B, respectively.
          17          4.      It is apparent on the face of the relevant underlying pleadings filed by Proctor that a

          18 non-waivable conflict existed from the outset of the Proctor Litigation: 2
          19                  53 … Instead, Eichler and Peikin paid themselves the bulk of the
                              company’s revenues and gave the non-employee minority shareholders
          20                  nothing in direct contravention of the fiduciary and contractual
                              obligations to Proctor IM and Aletheia’s other non-employee minority
          21                  shareholders.
          22                  54. This is a classic case of the majority, controlling employee
                              shareholders using their fiduciary positions to enrich themselves while
          23                  leaving the non-employee minority shareholders with an empty
                              investment in violation of fiduciary and contractual obligations.
          24
          25
          26   2
               Not only did O’Melveny take on this patently conflicted representation, but it provided a retainer
          27 assuming athat
             agreement      advised the clients that no conflict existed, as quoted at length below. Thus, even
                         waivable conflict, which it was not, O’Melveny neither disclosed such conflict nor
          28 sought nor received informed written consent purporting to waive it.
                                                                  2
                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 5 of 41 Page ID
                                           #:5182


           1 Exhibit A, at ¶¶ 53-54; see also Exhibit B, at ¶¶ 62-63 (identical to the quoted language). This
           2 conflict was debilitating and prohibited O’Melveny from simultaneously representing both the
           3 Company and those accused of fleecing the Company, namely, Eichler and Peikin.
           4          5.       O’Melveny was not ignorant of the conflict. For the avoidance of any doubt, in its

           5 own words O’Melveny’s confessed its awareness of the conflict and demonstrated O’Melveny’s
           6 contempt for the Company, one of its clients, in deference to Eichler and Peikin, O’Melveny’s
           7 favored concurrent clients. O’Melveny’s legal analysis of the claims that the Company had against
           8 the controlling shareholders, especially Eichler, is contained in a June 22, 2011, memorandum that it
           9 essentially wrote to itself (i.e., the memo was addressed solely to its former partners, Olson and
          10 deNeve, after they became officers of the Company) (“O’Melveny’s June 22 Memo”). A true and
          11 correct copy of O’Melveny’s June 22 Memo, with highlighting of unknown origin, is hereto attached
          12 as Exhibit C. 3
          13          6.       Critically, O’Melveny’s June 22 Memo chronicled the extensive looting carried out

          14 by Eichler and Peikin in violation of the then-in-place limitations on compensation, and concluded
          15 that such claims belonged, in substantial part, to the Company. O’Melveny analyzed the claims in
          16 the light of an agreement prescribing the Company’s compensation limitation in conjunction with a
          17 board of director’s resolution (discussed more fully below), which were in effect at the time, and,
          18 alternatively, assuming that it could prevail on its attempt to rescind the agreement. Under both
          19 scenarios, O’Melveny concluded that the Company was nevertheless harmed by the conduct of
          20 Eichler and Peikin, as follows:
          21                   Aletheia’s argument that Proctor defrauded Aletheia and breached its
                               own selling obligations to Aletheia would not defeat Eichler’s personal
          22                   liability under this claim. In other words, this potential liability [of
                               Eichler to Aletheia] exists even if Aletheia prevails on its claims
          23                   against Proctor.
          24   3
                 Olson and deNeve face exposure not only for their conduct at O’Melveny in representing these
          25   conflicted interests, but in their subsequent roles as President and General Counsel, respectively, of
               the Company. Having arrived at the Company tainted by the then-existing conflict of interest, and
          26   hand-picked by Eichler, Olson and deNeve proceeded to take no action on behalf of the Company
               when presented with O’Melveny’s June 22 Memo detailing the Company’s claims against Eichler
          27   evidencing the conflicted role of its attorneys. By any measure, Olson’s and deNeve’s conduct
               breached their duties of loyalty and fell below the duty of care they owed as officers to the
          28   Company.

                                                                  3
                                               CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 6 of 41 Page ID
                                           #:5183


           1 Exhibit C, at p.10 (emphasis added). Thus, O’Melveny rightfully concluded that the interests of the
           2 Company and its other clients were not aligned vis-à-vis the allegations leveled by Proctor.
           3          7.      O’Melveny’s analysis contained multiple references to the claims of its clients against

           4 each other, of the Company against Eichler, which was evident on the face of the pleadings in the
           5 Proctor Litigation. In this regard, among numerous other instances, O’Melveny’s June 22 Memo
           6 includes a stand-alone section entitled, “Potential Exposure in Future Derivative Litigation.” In
           7 this section, O’Melveny provided a candid assessment of the then-existing claims belonging to one
           8 of its clients against the other, including “excessive compensation” claims against Eichler and
           9 Peikin, which belonged to the Company, which O’Melveny’s own expert quantified as exceeding
          10 $47 million, as follows:
          11                  Any finding in this litigation that Aletheia paid excessive
                              compensation could have preclusive effect in future litigation,
          12                  including derivative litigation. Assuming excessive compensation of
                              $47,220,000 as calculated by F&M …. [t]o estimate potential
          13                  additional derivative exposure, we apportion these amounts to all
                              Aletheia shareholders ….
          14
               Exhibit C, at p.5 (emphasis added). Indeed, O’Melveny’s June 22 Memo identified and analyzed
          15
               several theories and causes of action belonging to the Company, as against Eichler and others
          16
               including, for example, an analysis admitting that the Company’s records show that millions of
          17
               dollars of payments characterized as “bonuses” were in fact dividends made to the controlling
          18
               shareholders in direct proportion to their stock holding percentage rather than based on any
          19
               performance metrics.
          20
                      8.      O’Melveny’s own expert calculated the looting, as identified by Proctor, to include
          21
               excessive compensation totaling more than $47 million, and corporate waste of more than $19
          22
               million. Despite the quantification of the Company’s staggering injury at the hands of Eichler and
          23
               others, O’Melveny continued in its prohibited concurrent representation of adverse interests and, in
          24
               that capacity, championed the majority shareholders’ position to the detriment of the Company such
          25
               that these once valuable claims are now time barred or uncollectible, as described below.
          26
               Ultimately, the Company was left with inadequate liquidity resulting in its inability to pay taxes and
          27
          28
                                                                 4
                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 7 of 41 Page ID
                                           #:5184


           1 other essential expenses, leading to its filing of a voluntary petition for relief commencing the above-
           2 captioned bankruptcy.
           3           9.     Moreover, O’Melveny’s June 22 Memo reveals that O’Melveny’s orientation in the

           4 Proctor Litigation was determined by its implicit assumption that the interests of the Company
           5 should be subordinated and sacrificed to advance Eichler’s personal interests. One example is its
           6 implicit assumption that the Company would pay any damages for which Eichler may be personally
           7 liable before Eichler would pay them, including as follows:
           8                  Proctor’s breach of fiduciary duty claim is asserted against Eichler ….
                              To the extent that damages for alleged excessive compensation and/or
           9                  alleged corporate waste are recovered in the claims brought directly
                              against Aletheia, Proctor will not be able to obtain double recovery
          10                  against the individual defendants.
          11 Exhibit C, at p.3, fn.3 (emphasis added).
          12           10.    O’Melveny failed to decline this conflicted representation at the outset, recuse itself

          13 after it fulsomely documented the conflict, or advise the Company to seek independent counsel after
          14 a court found that a concurrent conflict existed. More importantly, O’Melveny never sought any
          15 redress on behalf of the Company vis-à-vis its claims against Eichler and others for excessive
          16 compensation, or performed any act on behalf of the Company to protect the Company’s interests in
          17 its claims against the controlling shareholders. O’Melveny’s conduct thereby exhibited the
          18 presumed disloyalty that forms the foundation of Rule 3-310’s absolute prohibition against
          19 concurrent adverse representations. Simply stated, because of the conflict presented on the face of
          20 the pleadings themselves, O’Melveny was never in a position to advocate in the Company’s best
          21 interests, which would have required that O’Melveny cross-claim against Eichler and others or, at a
          22 minimum, preserve these claims for the Company. The California Supreme Court has recognized
          23 the fundamental infirmity created when, as here, counsel concurrently represents clients with
          24 conflicting interests and, thus, the need for an absolute prohibition of such representations:
          25                  By virtue of this rule an attorney is precluded from assuming any
                              relation which would prevent him from devoting his entire energies to
          26                  his client’s interests. Nor does it matter that the intention and motives
                              of the attorney are honest. The rule is designed not alone to prevent the
          27                  dishonest practitioner from fraudulent conduct, but as well to preclude
                              the honest practitioner from putting himself in a position where he
          28                  may be required to choose between conflicting duties, or be led to
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                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 8 of 41 Page ID
                                           #:5185

                              attempt to reconcile conflicting interests, rather than to enforce to their
           1                  full extent the rights of the interest which he should alone represent.
           2 Flatt, 9 Cal. 4th at 289 (emphasis in original) quoting Anderson v. Eaton, 211 Cal. 113, 116 (1930).
           3          11.     O’Melveny allowed the looting to continue on its watch unabated and unaddressed.

           4 O’Melveny’s actions, and its failures to act, prove the rationale for the rule of absolute prohibition:
           5 It simply is not possible for a lawyer to faithfully serve two masters with conflicting interests. More
           6 to the point, mirroring the improper relationship and fact pattern identified in the Gong case cited
           7 above (joint counsel to the company and controlling shareholder disqualified for using the company
           8 as a pawn in attacking the minority shareholder for fraud and similar claims), in the instant case
           9 Respondents facilitated Eichler’s scheme by using the Company as the aggressor in the Proctor
          10 Litigation, by filing a First Amended Complaint in the California action that sought rescission of,
          11 among other things, the then-in-place compensation restrictions years after Eichler and others
          12 already had trampled upon these limitations with impunity.
          13          12.     Claimant hereby seeks redress for Respondents’ disloyal conduct and flagrant

          14 violation of Rule 3-310 and the resulting damages actually and proximately caused by Respondents’
          15 breach of fiduciary duty, including the loss of claims totaling more than $47 million for excessive
          16 compensation paid to Eichler and others. The loss of this claim resulted from the running of the
          17 statute of limitations and/or Eichler’s having dissipated his assets since the time that the Company
          18 would have prosecuted the claim had the Company been represented by conflict-free counsel, at
          19 which time, on information and belief, such claims against Eichler would have been collectable.
          20 Eichler is now in his own chapter 7 bankruptcy case and claims to have dissipated his assets,
          21 including the entirety of the more than $31 million he received as his bonus for 2008 alone, which is
          22 part of the more than $47 million total excessive compensation according to O’Melveny’s legal
          23 analysis of F&M’s numerical analysis. See Exhibit C, at p.9.
          24          13.     Claimant also seeks the disgorgement of a minimum of $4.1 million for legal fees and

          25 costs paid to O’Melveny for its legal work in the Proctor Litigation, as well as the balance of the
          26 $9.1 million that O’Melveny received for all matters after it undertook the Proctor Litigation
          27 notwithstanding its disabling conflict of interest. O’Melveny’s retention of fees and costs it received
          28 by and on behalf of the Company, after undertaking the conflicted representation, constitutes unjust
                                                                   6
                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 9 of 41 Page ID
                                           #:5186


           1 enrichment. Likewise, Olson’s and deNeve’s retention of the salaries the Company paid them as
           2 officers of the Company also constitutes unjust enrichment where, as here, both remained tainted by
           3 the debilitating conflict of interest under which they had labored while lawyers at O’Melveny as
           4 evidenced by their failure to take any action to protect the Company’s interests in the claims, or to
           5 protect the Company from additional looting by the majority shareholders, identified in O’Melveny’s
           6 June 22 Memo that was addressed only to Olson and deNeve.
           7          14.     Moreover, Claimant seeks damages from Respondents resulting from the substantial

           8 and improper role Respondents played in Eichler’s continued looting of the Company after the time
           9 that Eichler would have been dispossessed of the power and opportunity to do so had the Company
          10 been represented by conflict-free counsel. For 2010 and 2011, during the period O’Melveny was
          11 serving as the Company’s counsel (from March 2010 to January 2012), Eichler received millions of
          12 dollars of excessive compensation, including more than $5.8 million in “bonuses” alone. For 2011,
          13 during much of which time both Olson and deNeve were officers of the Company (with duties of
          14 loyalty and care running to the Company, not the controlling shareholders), the Company “loaned”
          15 Eichler more than $1.4 million. In 2010, Eichler incurred more than a half a million dollars in credit
          16 card charges paid for by Aletheia. The Company also paid for Eichler’s divorce proceedings and
          17 Eichler’s family vacation travel to Europe aboard the Company’s plane, and other personal expenses
          18 disguised as corporate expenditures. F&M calculated that such excessive travel and entertainment,
          19 and professional fees, when measured against 2007 as a base year, were excessive by more than $19
          20 million. (See Exhibit C, at p.5.) Appropriate action by non-conflicted legal counsel for the
          21 Company also would have mitigated Proctor’s claim against the Company for legal fees, which
          22 O’Melveny estimated at $8 to $10 million. (See Exhibit C, at ¶ 4 on p.9.)
          23          15.     Claimant’s legal malpractice claim seeks similar damages as its breach of fiduciary

          24 duty claim, except it does not include the disgorgement of legal fees and costs which, in addition to
          25 the actual harm suffered, are recoverable for Claimant’s breach of fiduciary duty. Brought in the
          26 alternative, O’Melveny’s failure to pursue or preserve these claims (even assuming no conflict of
          27 interest) at a minimum constitutes a breach of its duty of care to the Company. This claim is largely
          28 academic given O’Melveny’s unwaivable conflict and breach of the duty of loyalty, which led to the
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                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 10 of 41 Page ID
                                           #:5187


           1 forfeiture of the Company’s claims, and the fact that the breach of the duty of care does not yield
           2 additional damages.
           3           16.    Despite the fact that O’Melveny rightfully concluded in O’Melveny’s June 22 Memo

           4 that Proctor’s allegations against the majority shareholders provided the Company with viable claims
           5 even if Proctor’s individual claims were defeated, O’Melveny is likely to attempt to revisit in this
           6 Arbitration the merits of its claim that the agreement that sets forth the compensation limitations
           7 (and other agreements) were subject to rescission. The equitable remedy of rescission, sought by
           8 O’Melveny for the first time in 2010 based on alleged facts and arguments known to the Company
           9 no later than 2007, was frivolous when first raised and will gain no vitality by repetition here. For
          10 one, it was untimely as a matter of law. See Cal. Civ. Code § 1691 (a party rescinding must do so
          11 promptly on discovering the facts which entitle him to rescind and must restore, or offer to restore,
          12 everything of value received under the contract); Estrada v. Alvarez, 38 Cal. 2d 386, 391 (1952)
          13 (finding waiver of rescission as a matter of law due to the passage of time, where claim for
          14 rescission for fraud was filed 20 months after the discovery of the alleged fraud and at least 15
          15 months after discovery of the right to rescind); Neet v. Holmes, 25 Cal. 2d 447, 457 (1944); see also
          16 Sogg v. Harvey, 134 Cal. App. 2d 116, 121 (Cal. App. 1955) (“The requirement of prompt rescission
          17 is mandatory ….”). Here, as documented in correspondence between the Company and Proctor, the
          18 alleged basis for rescission was known no later than late-2007 (and, in fact, the Company was on
          19 inquiry notice in 2006). Here, the basis for the remedy was identified by the Company in late-2007,
          20 at least 28 months before the right was exercised. It is, therefore, untimely as a matter of law.
          21           17.    Moreover, because rescission is an equitable remedy, it may not be granted in favor

          22 of one with unclean hands. Farahani v. San Diego Community College Dist., 175 Cal. App. 4th
          23 1486, 1495 (2009) (the doctrine of unclean hands rests on the maxim that “he who comes into equity
          24 must come with clean hands”). “The doctrine demands that a plaintiff act fairly in the matter for
          25 which he seeks a remedy. He must come into court with clean hands, and keep them clean, or he
          26 will be denied relief, regardless of the merits of his claim.” Kendall–Jackson Winery, Ltd. v.
          27 Superior Court, 76 Cal. App. 4th 970, 978 (1999). O’Melveny’s June 22 Memo provides ample
          28 indisputable evidence that the controlling shareholders were looting the company in contravention of
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                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 11 of 41 Page ID
                                           #:5188


           1 the agreement setting forth the compensation limitations in 2007, 2008, and 2009, years before ever
           2 seeking rescission (and despite knowledge of the alleged basis for rescission, failure to return the
           3 $16 million Proctor paid for its stock holdings in the Company, and failure to maintain the status
           4 quo)—eliminating Eichler’s and Peikin’s ability to demonstrate the clean hands necessary to seek
           5 this remedy. See Seller Agency Council, Inc. v. Kennedy Ctr. for Real Estate Educ., Inc., 621 F.3d
           6 981, 986 (9th Cir.2010) (explaining that the doctrine of unclean hands bars relief to a plaintiff who
           7 has violated good faith or other equitable principles in the transaction at issue).
           8           18.     There are, in fact, additional predicate flaws with O’Melveny’s rescission claim

           9 revolving around the element of justifiable reliance (discussed more fully below) for the simple fact
          10 that the agreement in question, the Side Letter (defined below), makes clear that the compensation
          11 limitations were in no way predicated on the alleged representations identified by O’Melveny that
          12 relate to an altogether different agreement, and the latter agreement was not the predicate for the
          13 compensation limits in the first instance. Thus, while it is true that O’Melveny would like to make
          14 this case about whether, or if, it can prove that Proctor committed fraud in its attempt to have the
          15 agreement relating to compensation deemed void ab initio, it simply will not be able to demonstrate
          16 that such fraud is relevant or avoid, in the first instance, the substantial predicate legal hurdles to
          17 raising such a defense.
          18           19.     Indeed, Respondents’ assertion of the rescission claims in the Proctor Litigation is an

          19 indelible mark of the conflict between O’Melveny’s clients, and indicator of O’Melveny’s own
          20 malice; there never was, and there is not now, any recognized legal basis for rescission. As
          21 evidenced by their actions, Eichler and Peikin chose simply to ignore the compensation limitations
          22 imposed by the relevant agreement and a related board resolution rather than to seek to have them
          23 set aside or otherwise rescinded first. It is indisputable (and is documented in O’Melveny’s June 22
          24 Memo) that Eichler and Peikin employed a “loot first” strategy by violating repeatedly the then-in-
          25 place compensation limitations, seeking after the fact to have O’Melveny justify their wrongful
          26 conduct with a belated claim of rescission. It is clear that O’Melveny did so wrongfully and in a
          27 patent attempt to validate Eichler and Peikin’s longstanding illegal conduct.
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                                               CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 12 of 41 Page ID
                                           #:5189


           1          20.     Regardless of its motivations, O’Melveny and other Respondents are indebted to

           2 Claimant, for the benefit of the bankruptcy Estate, for the harm Respondents are deemed to have
           3 caused as a matter of law by depriving the Company of conflict-free counsel, in violation of their
           4 fiduciary duty, and for their failure to properly prosecute or preserve the Company’s claims against
           5 Eichler, which claims O’Melveny admittedly was well aware of at the time when it was in a
           6 conflicted representation. For the foregoing reasons, as more fully addressed below, Respondents
           7 are indebted to the Claimant in an amount set forth in the prayers for relief below.
           8                                                    II.

           9                                               PARTIES

          10          21.     Claimant, Jeffrey I. Golden, is the duly appointed chapter 7 trustee in Aletheia’s

          11 bankruptcy pending in the United States Bankruptcy Court for the Central District of California
          12 (“Bankruptcy Court”) as Case No 2:12-BK-47718-BR (“Bankruptcy Case”).
          13          22.     Respondent, O’Melveny, is a limited liability law partnership, organized and existing

          14 under the laws of the State of California. During all relevant times, O’Melveny was and now is
          15 doing business in the County of Los Angeles, State of California.
          16          23.     Respondent, Steven J. Olson (“Olson”), is a resident of the County of Los Angeles,

          17 State of California. At the relevant times, Olson was either employed by O’Melveny as a partner
          18 with the Firm or employed by the Company as its President (while Eichler continued to serve as the
          19 Company’s CEO).
          20          24.     Respondent, J. Jorge deNeve (“deNeve”), is a resident of the County of Los Angeles,

          21 State of California. At the relevant times, deNeve was employed by O’Melveny either as a counsel
          22 with the Firm or employed by the Company as its General Counsel.
          23                                                    III.

          24                                        FACTUAL OVERVIEW

          25          25.     O’Melveny is an international law firm with approximately 750 professionals.

          26 Among other specialties, O’Melveny advises companies and corporate directors in connection with
          27 complex and sensitive internal investigations concerning, among other issues, allegations of
          28
                                                                 10
                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 13 of 41 Page ID
                                           #:5190


           1 corruption and conflicts of interest. Respondents Olson and deNeve practiced within O’Melveny’s
           2 “white-collar defense and corporate investigations” practice group.
           3          26.     Aletheia was a Los Angeles based boutique investment advisory firm founded in

           4 1997 by Eichler and Peikin. Within 10 years of its founding, Aletheia had billions of dollars under
           5 management. Aletheia’s target clients were high net worth individuals and institutional investors.
           6          Proctor’s Purchase of 10% of the Stock, the Side Letter, and the Selling Agreement

           7          27.     The Company’s stockholders, including Eichler, sought a liquidity event for some of

           8 their shares. By agreements dated November 3, 2006, Eichler and certain other of the Company’s
           9 shareholders sold 10% of the Company’s stock to Proctor for $16 million in cash pursuant to a stock
          10 purchase agreement (“Stock Purchase Agreement”). A true and correct copy of each of the Stock
          11 Purchase Agreement, the Side Letter (as defined below), and the Selling Agreement (as defined
          12 below) are attached hereto, respectively, as Exhibit D (Stock Purchase Agreement), Exhibit E (Side
          13 Letter), and Exhibit F (Selling Agreement). The $16 million purchase price for the 10% stake was
          14 the only consideration payable by Proctor pursuant to the Stock Purchase Agreement. The purchase
          15 price was based on a valuation of the Company at $160 million, which was 10 times the Company’s
          16 12-month projected EBITDA (earnings before interest, taxes, depreciation, and amortization) of $16
          17 million, with no discount in valuation for the minority interest Proctor purchased. As Aletheia’s
          18 largest shareholder and a seller of shares to Proctor, Eichler received more than $6 million from
          19 Proctor’s purchase while retaining the controlling interest in Aletheia.
          20          28.     The Stock Purchase Agreement, to which the Company was not a party, contains no

          21 mention of the Selling Agreement. Indeed, the Stock Purchase Agreement contains an integration
          22 clause which disavows that either party was induced by any promises not contained in the Stock
          23 Purchase Agreement itself:
          24                  Entire Agreement. This Agreement contains the entire understanding
                              of the parties hereto relating to the subject matter hereof and
          25                  supersedes all prior and collateral agreements, understandings,
                              statements, and negotiations of the parties, oral or written. Each of the
          26                  parties acknowledges that no representations, inducements, promises
                              or agreements, oral or written, with reference to the subject matter
          27                  hereof, have been made other than as expressly set forth herein.
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                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 14 of 41 Page ID
                                           #:5191


           1 Exhibit D, at § 5.4 (emphasis added). Moreover, the fully integrated Stock Purchase Agreement
           2 contains both recitals and representations and warranties, by both parties, which defeat any
           3 allegations of any material representations extrinsic and inconsistent with those contained in the
           4 Stock Purchase Agreement itself.
           5           29.    As a condition to its obligations to purchase the stock, Proctor required the Company

           6 to enter into a side agreement with Proctor, also dated November 3, 2006 (“Side Letter”). See
           7 Exhibit E. Only the Company was a party with Proctor to the Side Letter. None of the sellers under
           8 the Stock Purchase Agreement was a party to the Side Letter.
           9           30.    The Side Letter provided Proctor, not the Company, with various protections and

          10 assurances to safeguard its interests as a minority shareholder. In other words, the Side Letter
          11 evidences consideration afforded by the Company to Proctor as an inducement and condition
          12 precedent to Proctor’s obligation to consummate the Stock Purchase Agreement. Such protections
          13 included, among other things, the requirements that (i) the Company’s Board of Directors be
          14 expanded from three (3) to four (4) members, (ii) an “Independent Director” be appointed to the
          15 Board, (iii) financial information about the Company be provided to Proctor, and (iv) specified
          16 limitations be imposed on management compensation to prevent the controlling shareholders from
          17 denying Proctor of dividends, and other provisions.
          18           31.    Specifically, the Side Letter required that an “Independent Director” be appointed to

          19 Aletheia’s board of directors (“Board”) who is: (i) a nominee of an Aletheia shareholder that owns
          20 less than 25% of the aggregate then outstanding Series A and Series B shares of the Company, and
          21 (ii) is not an employee or officer the Company or a member of the family of an employee or officer
          22 of the Company. The Side Letter further allowed that should the independent director resign,
          23 Proctor retained the right to nominate the successor for the Independent Director position. Based
          24 upon the foregoing, and in accordance with the Side Letter, Proctor closed on the Stock Purchase
          25 Agreement and upon doing so nominated its president, James Coley, to serve as the Independent
          26 Director. Coley served on Aletheia’s Board until his resignation in 2007. The Side Letter further
          27 required Aletheia to “use its best efforts, consistent with its fiduciary duties, to cause and maintain
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                                               CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 15 of 41 Page ID
                                           #:5192


           1 the election of the Independent Director to the Board of Directors” and to “take such action as is
           2 reasonably necessary” to elect the Independent Director.
           3           32.    Significantly, the Side Letter also prohibited Aletheia from increasing the employee

           4 bonus pool above “35% of the pre-tax, pre-bonus income relating to all hedge fund partnerships
           5 (e.g., performance and management), and 20% of all other pre-tax, pre-bonus income (e.g.,
           6 management, commission)” without the prior written consent of the Independent Director.
           7 Confirming that the Side Letter was consideration for Proctor’s purchase of its 10% share, the Side
           8 Letter explicitly references the Stock Purchase Agreement and provides, among other things, that
           9 Proctor’s obligation to purchase the stock pursuant to the Stock Purchase Agreement is “subject to
          10 the satisfaction of all of the following conditions, any one or more of which may be waived by
          11 Proctor.” (at ¶ 1.) Not surprisingly, while the Side Letter expressly identifies a myriad of
          12 representations made by the Company (see pp. 2-3 with such representations); it contains no
          13 representations from Proctor—let alone any relating to the Selling Agreement.
          14           33.    The parties also contemplated the possibility of entering into a selling agreement,

          15 whereby Proctor would sell investment opportunities in the Company’s proprietary funds to third
          16 parties, and the Side Letter gave Proctor the right to insist on entering into such a selling agreement
          17 as a condition to Proctor’s obligation to close on its purchase of the stock from Eichler and others
          18 under the Stock Purchase Agreement. However, the Side Letter also gave Proctor the explicit right
          19 to waive the condition of entering into any selling agreement with the Company. Conversely,
          20 neither the Side Letter nor anything else gave the Company any right to insist on entering into any
          21 selling agreement with Proctor.
          22           34.    Although O’Melveny would like to make this case about whether the Side Letter and

          23 the Stock Purchase Agreement can be rescinded (a legally frivolous argument O’Melveny caused the
          24 Company to pursue by the First Amended Complaint in the California action), any such argument
          25 would fly in the face of the relevant agreements and the representations and warranties made therein,
          26 the parol evidence rule, which bars introduction of prior or contemporaneous oral representations
          27 that contradict integrated terms of a written agreement, the principle of inclusion unius est exclusion
          28 alterius (the inclusion of one thing is necessarily the exclusion of another) insofar as the parties
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                                               CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 16 of 41 Page ID
                                           #:5193


           1 expressly stated the predicate for each agreement and cannot now rewrite the Side Letter to suggest
           2 that it was predicated on representations relating to the Selling Agreement, and basic rescission law
           3 (including the application of waiver and unclean hands), all of which are discussed more fully
           4 herein.
           5           35.    There had been no adjudication by any court invalidating the Stock Purchase

           6 Agreement (or any unilateral rescission by the Company), which therefore remained valid and
           7 enforceable during the period of time in which Eichler and others were looting the Company.
           8           36.    There had been no adjudication by any court invalidating the Side Letter, or other

           9 rescission of the Side Letter, which therefore remained valid and enforceable during the period of
          10 time in which Eichler and others were breaching the compensation limits and other obligations stated
          11 therein with impunity.
          12           37.    The parties entered into the Selling Agreement pursuant to which, among other

          13 things, Proctor agreed to market and sell certain of Aletheia’s proprietary investment products, for
          14 which Procter was to receive specified fees as well as an option to purchase additional Aletheia stock
          15 based on the amount of new assets under management that Proctor brought to Aletheia. In April
          16 2007, the parties amended the 2006 agreement pursuant to which Proctor’s sales force became
          17 Aletheia’s selling agent, and another entity, Overture, became Proctor’s registered broker-dealer
          18 solely for the purpose of marketing on behalf of Aletheia and Aletheia Index (“Selling Agreement”).
          19 See Exhibit F.
          20           38.    The Selling Agreement entered into in April 2007 (Exhibit F) amended and restated

          21 the selling agreement dated November 3, 2006, of approximately five months earlier. The Selling
          22 Agreement includes representations by Proctor; however, none of them specify any sales goals, or
          23 minimums, or quotas, or otherwise commit Proctor to achieving any sales metrics, and Proctor
          24 makes no representations therein relating to the amount of any sales it may have been hoping to
          25 achieve or the number of its employees who would be devoted to this purpose. There is nothing in
          26 the Selling Agreement, which also contains an integration clause (see ¶ 11 (e) thereof), which
          27 purports to tie the parties’ representations or performance thereunder to either party’s performance
          28 of the Stock Purchase Agreement or the Side Letter.
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                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 17 of 41 Page ID
                                           #:5194


           1           Separate Corporate Resolution Adjusts Bonuses and Provides for Revenue Share

           2           39.     In March 2007, approximately four months after Proctor purchased its 10% interest in

           3 the Company from certain of its shareholders for $16 million in cash, Aletheia’s Board of Directors
           4 passed a resolution (“Revenue Share Resolution”) which purported to lower the “dividend
           5 distribution minimum from 45-50% to 20-30%.” While lowering the range of minimum dividends,
           6 the Revenue Share Resolution granted Proctor the right to receive 1.8% of all Aletheia’s
           7 management fees and commissions, which right was granted in explicit recognition of Proctor’s
           8 generation of new business for the Company, as noted in the Revenue Share Resolution. Attached as
           9 Exhibit G is a true and correct copy of the Revenue Share Resolution. That resolution was adopted
          10 by the Board, including Mr. Coley the independent director Proctor had nominated.
          11           40.     In or about November 2007, Coley resigned as Proctor’s CEO and from Aletheia’s

          12 Board. In accordance with Section 6 of the Side Letter, Proctor thereafter requested that another
          13 Proctor representative be appointed to Aletheia’s Board as the Independent Director. Eichler
          14 rejected Proctor’s nominee, and the Independent Director position was left vacant for more than two
          15 years, until a few months after O’Melveny began to represent the Company in the Proctor Litigation.
          16           41.     To Claimant’s knowledge, the Board has not to date revoked, rescinded, amended, or

          17 superseded the Revenue Share Resolution, which resolution therefore remained valid and binding
          18 during the period of time in which Eichler and others were looting the Company.
          19           Proctor and Aletheia Disputes

          20           42.     Over the course of 2007, the relationship between Proctor and Aletheia deteriorated.

          21 Proctor maintained that Aletheia and Eichler purposely frustrated Proctor’s substantial efforts and
          22 ability to effectively market and sell Aletheia investment products, refused to provide the agreed
          23 financial transparency, and refused to make required payments and distributions to Proctor. Eichler,
          24 with Respondents’ acquiescence if not instigation, caused Aletheia to assert the position that it was
          25 Proctor who was not performing under the Selling Agreement in that Proctor had purportedly failed
          26 to raise the billions of dollars it hoped to raise for Aletheia but which, as noted, was neither stated in,
          27 nor a material term of, the fully integrated Selling Agreement.
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                                               CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 18 of 41 Page ID
                                           #:5195


           1          43.     In the course of negotiations between the Company and Proctor before the relevant

           2 Proctor Litigation was commenced, including a brief stand-still period during which the parties
           3 exchanged settlement proposals, it became evident that the Company had ceased to provide required
           4 financial information to Proctor. It was also then evident that the Company could not establish that
           5 Proctor breached the Selling Agreement which contained no commitments, requirements or quotas
           6 that Proctor had not satisfied.
           7          44.     In December 2007, on the eve of the start of what would be the Company’s best year

           8 in terms of financial performance, the Company delivered to Proctor a notice of breach of the Selling
           9 Agreement based on Proctor’s alleged failure to generate enough new investments. By letter dated
          10 December 18, 2007, Aletheia notified Proctor that “[u]nder Section 9(a) of the Selling Agreement,”
          11 it had “exercise[d] its right to terminate the Selling Agreement.” At that time, Aletheia claimed that
          12 Proctor had misrepresented its sales force and ability to sell on behalf of Aletheia. What Aletheia
          13 did not do at that time was rescind the Selling Agreement, the Side Letter or the Stock Purchase
          14 Agreement. By its letter dated January 4, 2008, Aletheia notified Proctor that the Selling Agreement
          15 “has been terminated.” That letter describes allegations that Proctor had not sufficiently disclosed in
          16 2006 its relationship with Avatar Associates, who Aletheia claimed was one of its competitors, and
          17 alleged Proctor had misrepresented its intentions and abilities with respect to the Selling Agreement;
          18 however, again, Aletheia did not purport to rescind the Selling Agreement or, more importantly, the
          19 Side Letter.
          20          45.     On January 16, 2008, Proctor submitted to Aletheia (Eichler) a written demand for

          21 permission to inspect Aletheia’s books of account and records in accordance with the Stock Purchase
          22 Agreement, the Side Letter, and the Selling Agreement. Eichler ignored that request. At all times,
          23 Proctor claimed that it had performed the Selling Agreement in accordance with its terms except to
          24 the extent Aletheia’s refusal to provide the requested financial information prevented Proctor from
          25 making sales. Proctor claimed to have brought the Company at least $123.5 million of new assets
          26 under management for which it was not properly compensated, which the Company disputed. (See
          27 Exhibit C, O’Melveny’s June 22 Memo at p.8.)
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                                               CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 19 of 41 Page ID
                                           #:5196


           1           46.    The parties exchanged multiple correspondence pointing fingers at each other. In

           2 fact, the Company, admittedly fully aware in 2007 of the basis for the allegations that formed its
           3 claim for fraud and rescission against Proctor, merely reserved its right to seek rescission of other
           4 agreements based on Proctor’s purported failure to sell and alleged failure to disclose a conflict of
           5 interest. The Company did not perfect a rescission of any of the agreements at that time, and none
           6 of the sellers from whom Proctor bought its stock offered to return, or returned, any of the $16
           7 million purchase price Proctor had paid them.
           8           47.    In light of Eichler’s conduct, in January 2008, Proctor filed a lawsuit against the

           9 Company. Thereafter, the parties entered into a standstill agreement, whereby Proctor would
          10 dismiss its declaratory relief action for a minimum period of 40 days and during that period no party
          11 would initiate a litigation or proceeding. The standstill agreement did not provide for the tolling of
          12 any statute of limitations or repose, and it provided both parties the unilateral right to rescind such
          13 standstill agreement. After 40 days, the standstill agreement was cancellable by either party upon
          14 five days’ notice. The Company never terminated the standstill agreement (it was terminated by
          15 Proctor in January 2010). Ostensibly, the purpose of the standstill was to provide the parties the
          16 opportunity to conduct a valuation of the Company for the purpose of determining the value of
          17 Proctor’s stock for settlement discussions contemplating the Company, or certain of its shareholders,
          18 would buyout some or all of Proctor’s shares. Nevertheless, and despite the allegations leveled by
          19 Proctor in its dismissed complaint, and the fact that the parties were working towards a valuation the
          20 Company for settlement discussion purposes, the controlling shareholders repeatedly breached the
          21 terms of then still in force Side Letter during the standstill period, including in the manner set forth
          22 in O’Melveny’s June 22 Memo.
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                                               CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 20 of 41 Page ID
                                           #:5197


           1          SEC Investigation; O’Melveny Represents Eichler Personally

           2          48.     On or about April 8, 2009, the SEC issued a subpoena to the Company that, among

           3 other things, notified the Company that the SEC had entered a formal order of investigation into its
           4 business activities and affairs (“SEC Investigation”). Eichler and Peikin engaged Loeb & Loeb LLP
           5 (“Loeb”) to represent them and Aletheia in the SEC Investigation.
           6          49.     In late 2009, on information and belief, Loeb advised Eichler and Peikin that it had

           7 identified a conflict of interest as to its jointly representing them and Aletheia in the SEC
           8 Investigation, and Loeb suggested that they each retain separate counsel. Both did so. Peikin
           9 retained Robert Friese of Shartsis Friese, LLP, and Eichler retained the Respondents.
          10          50.     O’Melveny’s retention by Eichler in the SEC Investigation is reflected in a letter

          11 agreement dated November 5, 2009, in which the Firm stated:
          12                  We will represent only you in connection with the Subject Matter
                              (SEC Investigation).… We will not be representing the Company or…
          13                  or any of your or their respective officers, directors, investors, agents,
                              partners or employees…. Accordingly, you agree that we will not be
          14                  precluded from representing other existing clients or future clients in
                              legal matters relating or adverse to the Company or other Related
          15                  Persons, even if you have an indirect interest therein as a result of your
                              relationships to them.
          16
          17          Proctor Litigation in Los Angeles and New York, Scope of Representation is Expanded

          18          51.     In January 2010, Proctor notified the Company that it was terminating the standstill

          19 agreement.
          20          52.     Although relieved in the SEC matter, Loeb continued to represent the Company in the

          21 Proctor dispute. On February 4, 2010, Loeb filed a lawsuit solely on behalf of the Company against
          22 Proctor in the Los Angeles Superior Court, Case No. SC108700 (none of the shareholders who had
          23 sold stock to Proctor were included in the action). By this lawsuit, Loeb, as Aletheia’s counsel,
          24 sought merely a declaration of the Company’s rights and remedies with respect to its agreements
          25 with Proctor. Attached hereto as Exhibit H is a true and correct copy of the Company’s February 4,
          26 2010, complaint. Two years from when the Company first notified Proctor that it might seek
          27 rescission, the complaint that Loeb filed, thereby commencing the Proctor Litigation, did not assert
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                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 21 of 41 Page ID
                                           #:5198


           1 any tort claims against Proctor, nor did it seek rescission of any of the agreements with Proctor;
           2 rather, it merely sought a declaration regarding the parties’ rights under the various agreements.
           3          53.     On information and belief, Eichler had urged Loeb, and Loeb declined, to allege in

           4 the lawsuit the Company filed on April 4, 2010, that Proctor had committed fraud in connection with
           5 the Selling Agreement and the Stock Purchase Agreement. On information and belief, Loeb
           6 determined to not allege any causes of action sounding in tort, or to seek the rescission of the Selling
           7 Agreement or of the Stock Purchase Agreement in the lawsuit it filed against Proctor because, after
           8 diligence and analysis, Loeb determined there was no legal merit to such claims.
           9          54.     Not surprisingly, Loeb treated the Stock Purchase Agreement and Side Letter as

          10 related agreements and the Selling Agreement as separate. It sought a determination as to whether
          11 the Company was in breach of the Stock Purchase Agreement insofar as Proctor alleged that the
          12 Company had not provided the financial disclosures required under the Side Letter. Separately,
          13 Loeb sought a declaration as to the parties’ respective rights under the Selling Agreement, noting
          14 that the Company sought a determination that it had properly terminated the Selling Agreement in
          15 accordance with its terms, while Proctor believed it was owed commissions under the Selling
          16 Agreement.
          17          55.     A few days later, on February 16, 2010, Proctor filed suit in New York state court

          18 against the Company as well as Eichler and Peikin personally (“New York Action”). In the New
          19 York Action, Proctor alleged, among other things, that Eichler and Peikin had breached their
          20 fiduciary duty owed to Proctor and other minority shareholders by denying them distributions and
          21 other revenue to which they were entitled, by improperly refusing to appoint the Independent
          22 Director, by paying themselves exorbitant sums, including amounts far in excess of the amounts
          23 permitted by the Side Letter and the Revenue Share Resolution, and by refusing to furnish financial
          24 information as required by the agreements. Proctor specifically alleged in its complaint (“Proctor
          25 New York Complaint”), among other things:
          26                  2008 was Aletheia Management’s most successful year. . . . revenue in
                              2008 more than doubled from the prior year, Aletheia Management did
          27                  not pay its shareholders a single penny of distributions while Eichler
                              and Peikin, upon information and belief, paid themselves most of the
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                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 22 of 41 Page ID
                                           #:5199

                              $56 million that they caused Aletheia Management to pay out in
           1                  “compensation.”
           2                                              *       *       *

           3                  In particular, Eichler and Peikin, individually and as agents of the
                              Aletheia Respondents, have denied Proctor IM (as well as other non-
           4                  employee shareholders of Aletheia Management) distributions
                              and….paid themselves excessive compensation in violation of
           5                  contractual requirements that ensure that non-employee minority
                              shareholders like Proctor IM receive a share of the financial success of
           6                  Aletheia Management. Eichler and Peikin have also breached their
                              fiduciary duties to Proctor IM.
           7
                                                          *       *       *
           8
                              Eichler and Peikin have used their position as directors, officers and
           9                  controlling shareholders, to funnel much of Aletheia Management’s
                              revenue to themselves as “compensation” in direct contravention of a
          10                  contractual limitation on bonuses that was designed to ensure that
                              Eichler and Peikin could not deprive nonemployee minority
          11                  shareholders of the economic benefits of their investments by taking
                              all the cash out of Aletheia Management and putting it into their own
          12                  pockets, leaving nothing to distribute to non-employee minority
                              investors.
          13
               Proctor New York Complaint (Exhibit A hereto) ¶¶ 1 and 2 (emphasis added).
          14
                      O’Melveny Undertakes Conflicting Representations in the Proctor Litigation
          15
                      56.     Within a few weeks after the filing of the complaints, O’Melveny was retained to
          16
               represent Aletheia, Eichler, and Peikin in the New York Action. On March 1, 2010, O’Melveny
          17
               replaced Loeb as Aletheia’s counsel in the California action. On April 13, 2010, O’Melveny
          18
               memorialized its retention in both the New York and California actions pursuant to an agreement
          19
               stating there was no conflict of interest, among other things, as follows:
          20
                              Based on the information available to us at this time, we do not believe
          21                  that representing these parties [Aletheia, Eichler and Peikin (Peikin
                              had a separate engagement letter of the same date)] involves an actual
          22                  conflict of interest. . . . A conflict of interest may develop if the
                              parties’ interests become inconsistent or adverse. If that occurs, we
          23                  will promptly notify you about any such conflict.
          24                                           *       *       *
                              Although we do not presently see actual or reasonably foreseeable
          25                  adverse effects of that shared responsibility, issues may arise that
                              affect multiple clients in somewhat different ways. For example, if
          26                  one of our Common Clients asserts a claim against the other or if our
                              Common Clients give us conflicting instructions, we may be required
          27                  to withdraw from representing one, some, or all of them. Therefore, it
                              is important to understand that our client responsibilities may directly
          28                  or indirectly affect our ability to focus exclusively on one client’s
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                                               CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 23 of 41 Page ID
                                           #:5200

                              interests and may be materially limited by our representation of the
           1                  other Common Clients.
           2 O’Melveny’s April 13, 2010, engagement agreement, a true and correct copy of which is attached
           3 hereto as Exhibit I, at p.3.
           4           57.    On April 16, 2010, O’Melveny filed the Company’s First Amended Complaint in the

           5 California action which, among other things, abandoned the Company’s declaratory relief claim, and
           6 for the first time asserted claims for fraud and seeking rescission of the agreements with Proctor.
           7 Attached as Exhibit J is a true and correct copy of the First Amended Complaint that O’Melveny
           8 filed ostensibly on behalf of the Company. Notwithstanding that none of the sellers who sold
           9 Proctor its stock were plaintiffs in the California action or otherwise joined to the First Amended
          10 Complaint, O’Melveny’s First Amended Complaint sought rescission of the Stock Purchase
          11 Agreement, the Side Letter, and the Selling Agreement, among other relief. Thus, O’Melveny
          12 caused the Company to file an action for rescission more than three years after Proctor had
          13 purchased its 10% interest in the Company, and more than two years after the Company had
          14 purported to terminate the Selling Agreement in accordance with its terms rather than to seek its
          15 rescission. Thus, O’Melveny untimely sought rescission of the agreements despite the fact that (i)
          16 Eichler and others had serially violated and were then in breach of the covenants contained in the
          17 Side Letter, (ii) the Company had acknowledged the validity of the Stock Purchase Agreement,
          18 including by paying a modest dividend to Proctor for 2007, (iii) the Company would thereafter
          19 affirm the validity of the Side Letter, including by appointing Lee in accordance with its terms (as
          20 discussed below), (iv) the Company had acknowledged the validity of the Selling Agreement,
          21 including by purporting to terminate the Selling Agreement in accordance with its terms, (v) the
          22 Company had acknowledged the validity of Proctor’s ownership of 10% the Company’s stock,
          23 including by entering into the Standstill Agreement for the purpose of valuing such stock for
          24 settlement discussions purposes, and (vi) Eichler and the other sellers never offered to return to
          25 Proctor, nor did they return, the $16 million in cash that Proctor had paid for their stock, though they
          26 continued to retain the benefit of such cash, among other factors.
          27           58.    In June of 2010, Eichler, in his capacity as majority shareholder of Aletheia,

          28 purportedly elected his long-time friend and college roommate, Bruce Lee (“Lee”), to Aletheia’s
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                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 24 of 41 Page ID
                                           #:5201


           1 Board, to serve together with Eichler, Peikin, and Barnes. The election was accomplished without a
           2 meeting and solely by Written Consent of Eichler, as majority shareholder, dated June 15, 2010
           3 (“Written Consent”). The Written Consent was fashioned to comply with the Side Letter in several
           4 ways. First, it acknowledged the vacancy of the fourth position on the Board, which fourth Board
           5 seat was created pursuant to the Side Letter. Moreover, the Written Consent recites that Lee was
           6 nominated to the Board by the Sanders Partnership, which is identified in “Exhibit A” to the Stock
           7 Purchase Agreement in Exhibit D hereof, as owning 25 shares (less than 1%) of the 1,463 shares
           8 outstanding of the Company’s Series B non-voting stock.
           9           59.    On or about July 1, 2010, Proctor by and through its counsel, Daniels, Fine, Israel

          10 Schonbuch & Lebovits, LLP, filed suit in the Los Angeles Superior Court contesting Eichler’s
          11 appointment of Lee to the Board, In re Aletheia, LASC Case No. SC108574. To date, no ruling on
          12 the merits of that action has been issued, as the Court stayed deciding the matter pending the
          13 outcome of the California action.
          14           60.    On or about July 13, 2010, O’Melveny issued another (supplemental) retention letter,

          15 which recognized its expanded representation to include Proctor’s lawsuit in California and any
          16 related litigation, and added Lee as a represented party, along with Aletheia, Eichler and Barnes.
          17 This letter again identified no actual conflict in O’Melveny’s representation of both the Company
          18 and its controlling shareholders, and others, in the Proctor Litigation.
          19           61.    On or about October 22, 2010, the New York state court granted Aletheia’s motion to

          20 dismiss the New York Action on forum non conveniens grounds on the condition that Proctor be
          21 allowed to file its claims against the Aletheia parties in the Los Angeles action. On or about
          22 January 19, 2011, Proctor filed a cross-complaint in the Los Angeles action against Aletheia, and
          23 Eichler and Peikin personally, alleging, inter alia, claims for breach of contract, breach of fiduciary
          24 duty, breach of the implied covenant of good faith and fair dealing, and for declaratory relief.
          25           62.    Like its New York complaint, Proctor’s cross-complaint contained numerous

          26 allegations of malfeasance by Eichler and others that caused harm to the Company and all of its
          27 other shareholders, such as:
          28
                                                                 22
                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 25 of 41 Page ID
                                           #:5202

                              2.       Proctor brings this Cross-Complaint against the Aletheia
           1                  Parties to redress the oppression of minority shareholder rights,
                              breaches of fiduciary duty and the violation of contractual obligations.
           2                  In particular, Eichler and Peikin, individually and as agents of the
                              Aletheia Parties, have denied Proctor IM (as well as other non-
           3                  employee shareholders of Aletheia) distributions and revenue sharing
                              that Proctor IM is legally entitled to receive as an investor in Aletheia,
           4                  all in violation of their legal obligations to Proctor IM and other
                              minority shareholders of Aletheia.
           5
                              3.       As part of their effort to deprive Proctor IM and other non-
           6                  employee minority shareholders of the economic benefits of their
                              ownership interest in Aletheia, Eichler and Peikin have paid
           7                  themselves excessive compensation in violation of contractual
                              requirements that are designed to ensure that non-employee minority
           8                  shareholders like Proctor IM receive a share of the financial success of
                              Aletheia. Eichler and Peikin have also breached their fiduciary duties
           9                  to Proctor IM . Eichler, Peikin and Aletheia committed these improper
                              acts at a time when Aletheia was legally required to have an
          10                  independent director to prevent oppression of minority shareholders.
                              However, they refused to appoint an independent director, despite a
          11                  clear contractual requirement to have an independent director, in an
                              effort to shield their misconduct from scrutiny. Eichler, Peikin and
          12                  Aletheia further tried to conceal their misconduct by refusing to
                              comply with their legal obligation to provide financial information to
          13                  Proctor IM despite repeated requests for basic financial information
                              which was readily available to Eichler, Peikin and Aletheia but which
          14                  was withheld from Proctor IM. In this lawsuit, Proctor seeks damages
                              for Cross-Defendants’ breaches of fiduciary duty and contract and to
          15                  compel Eichler, Peikin and Aletheia to restore good corporate
                              governance protections (including, but not limited to, the appointment
          16                  of an independent director) and required financial and other disclosure
                              to prevent them from continuing to oppress Proctor IM and other non-
          17                  employee minority shareholders.
          18
               Proctor Cross Complaint in the California action (Exhibit B hereto), at ¶¶ 2 and 3.
          19
                      63.     At or about the same time, on or about January 18, 2011, O’Melveny filed a Second
          20
               Amended Complaint in Los Angeles against Proctor. O’Melveny caused the Company to assert
          21
               additional claims for breach of contract and fraud, among other claims. On March 10, 2011, Proctor
          22
               filed its First Amended Cross-Complaint, in which it asserted essentially the same causes of action,
          23
               adding Barnes and Lee as individual cross-defendants with Eichler and Peikin. A true and correct
          24
               copy of such First Amended Cross-Complaint is attached hereto as Exhibit K.
          25
                      64.     On or about April 14, 2011, O’Melveny again updated its retention agreement, to
          26
               cover its joint representation of Aletheia, Eichler, Barnes and Lee in the Proctor Litigation (“April
          27
               14, 2011, Agreement”). That letter provides, in relevant part:
          28
                                                                  23
                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 26 of 41 Page ID
                                           #:5203

                                We will represent only the Company, Ms. Barnes, Mr. Eichler, and
           1                    Mr. Lee in connection with the Subject Matter. . . . A conflict of
                                interest may develop if the parties’ interests become inconsistent or
           2                    adverse. If that occurs, we will promptly notify you about any such
                                conflict.
           3
                                                            *       *       *
           4
                                Although we do not presently see actual or reasonably foreseeable
           5                    adverse effects of that shared responsibility, issues may arise that
                                affect multiple clients in somewhat different ways. For example, if
           6                    one of our common clients asserts a claim against the other or if our
                                common clients give us conflicting instructions, we may be required to
           7                    withdraw from representing one, some, or all of them.
           8 O’Melveny’s April 14, 2011, Agreement, a true and correct copy of which is attached hereto as
           9 Exhibit L.
          10           O’Melveny Not Only Recognized the Conflict, It Had an Expert Quantify Damages
          11
                       65.      Moreover, in its April 14, 2011, Agreement, O’Melveny disclosed that it had
          12
               consulted a third party law firm to advise O’Melveny about its ethical obligations in connection with
          13
               its prior representation of Peikin in the Proctor litigation. The letter recites that the clients agree to
          14
               the confidentiality of O’Melveny’s communications with the third party law firm, which
          15
               communications were not disclosed to the clients. Upon information and belief, O’Melveny was
          16
               advised by such third party law firm concerning its conflict of interest in concurrently representing
          17
               the Company and Eichler in the Proctor Litigation. Respondents did not disclose this conflict of
          18
               interest to its clients.
          19
                       66.      Eichler signed each of O’Melveny’s retention letters on his own behalf and also on
          20
               behalf of the Company. No other person signed any of these agreements on behalf of the Company.
          21
                       67.      On or about April 19, 2011, a few days after O’Melveny updated its retention letter,
          22
               both Olson and deNeve joined Aletheia as officers. Olson became Aletheia’s President and Chief
          23
               Legal Officer, and deNeve became Aletheia’s Senior Vice President and General Counsel. In that
          24
               capacity, Olson and deNeve owed fiduciary obligations of loyalty and care to the Company rather
          25
               than to its officers or shareholders personally.
          26
                       68.      As noted above, O’Melveny’s June 22 Memo was addressed solely to Olson and
          27
               deNeve, who at the time were officers of Aletheia having been handpicked by Eichler for these
          28
                                                                    24
                                                CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 27 of 41 Page ID
                                           #:5204


           1 positions. O’Melveny’s June 22 Memo provided Olson and deNeve the following analysis, among
           2 others, of the claims asserted in the Proctor Litigation:
           3                  This memorandum analyzes Aletheia and its directors’ potential
                              liability arising from the Aletheia v. Proctor litigation pending in the
           4                  Los Angeles Superior Court.
           5                  Substantially all of Aletheia’s exposure in this case comes from four
                              sources of alleged liability: (1) unpaid shareholder distributions and
           6                  revenue sharing, (2) excessive compensation of employees through
                              bonus payments and the improper use of corporate funds for the
           7                  personal expenditures of Peter J. Eichler, Jr., (3) unpaid selling
                              commissions and other asserted damages arising from Aletheia’s
           8                  marketing agreements with Proctor, and (4) attorney’s fee award
                              against Aletheia should Proctor ultimately prevail in litigation.
           9
                              Eichler may also have personal exposure from Proctor’s direct claim
          10                  of breach of fiduciary duty, or for a similar claim brought on a
                              derivative basis on behalf of the company.
          11
                              Although not fully articulated in Proctor’s cross-complaint, this claim
          12                  could expose Eichler to disgorgement of excess compensation received
                              to the extent that a court determines that such compensation was
          13                  disguised dividends. Based on the 2008 bonus amounts alone, Eichler
                              could be personally liable for $14 million to Proctor and other Aletheia
          14                  shareholders. Because these breaches of fiduciary duty claims are not
                              dependent on the agreements between Proctor and Aletheia, Eichler
          15                  faces this exposure even if Aletheia can prevail on its claims against
                              Proctor.
          16
               Exhibit C, at pp.1-2 (emphasis added).
          17
                      69.     O’Melveny not only concluded that Aletheia had viable and substantial causes of
          18
               action for breach of fiduciary duty against Eichler arising from his actions and omissions during
          19
               2007 and thereafter, O’Melveny engaged F&M to quantify the damages associated with these
          20
               claims, which analysis was attached to O’Melveny’s June 22 Memo:
          21
                              Assuming excessive compensation of $47,220,000 as calculated by
          22                  F&M, total additional distributions payable to all shareholders under
                              the Side Letter Agreement would equal $23.6 million (50% of the
          23                  excessive compensation) or $14.2 million under the Revenue Share
                              Resolution (30% of the excessive compensation). To estimate potential
          24                  additional derivative exposure, we apportion these amounts to all
                              Aletheia shareholders, while subtracting out 10% for Proctor’s share
          25                  that it would have recovered as part of this direct litigation, 35.7% for
                              Eichler’s share that he was already paid in bonus, and 19.4% for
          26                  Peikin’s share that he was already paid in bonus. (These percentage
                              ownership figures are taken from the Aletheia shareholder list dated
          27                  December 31, 2009.) Under this formula, potential downstream
                              exposure to Aletheia and/or its directors relating to the remaining
          28                  34.9% of Aletheia shares outstanding is approximately $8.24 million
                                                                  25
                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 28 of 41 Page ID
                                           #:5205

                              under the Side Letter Agreement, or $4.94 million under the Revenue
           1                  Share Resolution.
           2 Exhibit C, at p.5 § 2.C.
           3          70.     Although O’Melveny identified the Company’s claims against the controlling

           4 shareholders and directors, at no time did O’Melveny advise the Company of the conflict of interest
           5 resulting from the Company’s palpable derivative claims against Eichler, nor did O’Melveny advise
           6 the Company to appoint an independent director and retain separate counsel to investigate and
           7 prosecute, or preserve, such claims. Instead, O’Melveny undertook, and continued, to represent both
           8 the Company and Eichler in the Proctor Litigation notwithstanding the known conflict that existed
           9 between their clients, while it allowed the statute of limitations on certain of these claims to lapse.
          10 Olson and deNeve, though they breached their own fiduciary duties to the Company, did not relieve
          11 O’Melveny of its role or duty of loyalty as the Company’s counsel.
          12          Conflict of Interest Recognized by LASC and Argued by O’Melveny

          13          71.     In or around July 2011, the Los Angeles Superior Court held a hearing on Peikin’s

          14 motion to disqualify O’Melveny as counsel in the various matters in which it was representing the
          15 Company in connection with the Proctor Litigation. As presented to the Court, this was a question
          16 of successive representations, as O’Melveny no longer represented Peikin. O’Melveny presented
          17 two arguments: first, that there was no conflict at the time that O’Melveny concurrently represented
          18 the Company, Eichler and Peikin; and, second, that now that they no longer represented Peikin, he
          19 did not have standing to challenge the conflict of interest. The Court denied the motion primarily
          20 based upon the Court’s finding that Peikin was then represented by separate counsel and Peikin,
          21 therefore, lacked standing, as a former client, to bring a disqualification motion regarding
          22 O’Melveny’s joint representation of the Company and Eichler. Nevertheless, the Court’s written
          23 opinion found the existence of a conflict of interest among O’Melveny’s then-existing clients, as
          24 follows:
          25                  There is no question but that there is a conflict of interest in this
                              matter. The First Amended Cross Complaint filed by Proctor on 3-10-
          26                  11 asserts that the individual Cross-Respondents, Eichler, Peikin,
                              Barnes, and Lee, have breached their fiduciary duties and the contracts
          27                  between Aletheia and Proctor. . . . These allegations may, indeed,
                              involve a dispute between the cross-defendants as to alleged breaches
          28                  of fiduciary duty, if any by any one or more cross-defendants.
                                                                 26
                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 29 of 41 Page ID
                                           #:5206


           1 Ruling on Submitted Matter: Cross-Defendant’s Motion to Disqualify O’Melveny Myers, Case Nos.
           2 SC108642; SC108674; BC441951; SC110372 (L.A. Super. Ct., July 12, 2011) at 17 (emphasis
           3 added), a true and correct copy of which (with highlighting of unknown origin) is attached hereto as
           4 Exhibit M. Yet and still, O’Melveny continued to represent these conflicting interests, the
           5 Company, Eichler, and others.
           6          72.     In September 2011, the Los Angeles Superior Court issued its order of August 30,

           7 2011, on the demurrer filed as to the Proctor action by Peikin, Barnes and Lee. The Court denied the
           8 motion as to certain claims but recognized that to the extent Proctor sought redress for payment of
           9 excessive compensation to Eichler and others, such claims were derivative in nature and belonged to
          10 the Company. The Court’s memorandum decision provides in this regard, inter alia, as follows:
          11                  In light of the directors’ role in the operation of the business affairs of
                              the corporation, where conduct, including mismanagement by
          12                  corporate officers, causes damage to the corporation, it is the entity
                              that must bring the suit….
          13
          14 Ruling on Submitted Matters: Cross-Respondents’ Demurrers to the First Amended Cross
          15 Complaint of Proctor Investment Managers, LLC, Case Nos. SC108642; SC108674; BC441951;
          16 BC450058; BC462946; SC110372 (L.A. Super. Ct., Aug. 30, 2011) at 7-8 (emphasis added), a true
          17 and correct copy of which (with highlighting of unknown origin) is attached hereto as Exhibit N.
          18 Notwithstanding the foregoing, O’Melveny continued its joint representation of Aletheia and
          19 Eichler, and others, in the Proctor Litigation, in derogation of the Company’s legal rights and best
          20 interests and to the Company’s detriment.
          21          73.     O’Melveny recognized that the central claims Proctor was asserting were, at their

          22 core, claims which belonged to the Company. O’Melveny summarized Proctor’s claims against the
          23 Company for “corporate looting allegations”, which were “at core assertions of harm to Aletheia,” as
          24 follows (quoting Proctor’s allegations):
          25                  ‘The Aletheia Directors, in dereliction of their fiduciary duties, have
                              refused to institute and follow the most basic good corporate
          26                  governance practices to oversee or control Eichler, in his capacity as
                              CEO of Aletheia, or any other Aletheia employees and ensure that
          27                  Aletheia is run for the benefit of its shareholders and not solely for the
                              benefit of Eichler.’ FACC. 79 (emphasis added);
          28
                                                                  27
                                               CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 30 of 41 Page ID
                                           #:5207

                              ‘Eichler and Peikin paid themselves the bulk of the company’s
           1                  revenues and gave the non-employee minority shareholders nothing in
                              direct contravention of their fiduciary ... obligations to Proctor 1M and
           2                  Aletheia’s other nonemployee shareholders. .... Meanwhile, although
                              Barnes is a director of Aletheia with fiduciary duties to its minority
           3                  shareholders (as is true of Lee since his purported election to
                              Aletheia’s board), neither of them did anything to stop Eichler from
           4                  paying himself and Peikin ....excessive compensation.’ Id. 86-87
                              (emphasis added);
           5
                              ‘[D]espite the fact that Aletheia’s revenues in 2008 more than doubled,
           6                  Aletheia did not pay its shareholders any distributions while Eichler
                              and Peikin paid themselves and other Aletheia employees $56 million
           7                  in ‘compensation.’ Id., at 11;
           8                  ‘Eichler and Peikin ... caused Aletheia to use most of its revenues to
                              pay themselves excessive compensation in violation of the Side Letter
           9                  Agreement and in direct contravention of their fiduciary duties to
                              Proctor IM and Aletheia’s other non-employee minority shareholders
          10                  while Barnes (and Lee since his purported election to Aletheia’s Board
                              of Directors) sat back and did nothing despite a legal obligation to
          11                  exercise independent oversight and control over Eichler’s self-
                              interested conduct in paying himself (and others at Aletheia) virtually
          12                  all of Aletheia’s revenues ... and distributing nothing to Aletheia’s
                              shareholders.’ Id. (emphasis added).
          13
               O’Melveny’s Memorandum of Points and Authorities in Support of Cross-Defendants’ Patricia
          14
               Barnes’s and Bruce Lee’s Demurrer to Proctor’s Frist Amended Cross-Complaint, at true and
          15
               correct copy of which is attached hereto as Exhibit O, at p.6.
          16
                      74.     On or about January 5, 2012, Olson resigned his positions as Aletheia’s President and
          17
               Chief Legal Officer, and rejoined O’Melveny on or about August 1, 2013, as a partner.
          18
                      75.     Soon thereafter, on January 18, 2012, O’Melveny withdrew from representing
          19
               Aletheia, Eichler, and other Aletheia employees in the Proctor Litigation.
          20
          21
          22
          23
          24
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                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 31 of 41 Page ID
                                           #:5208


           1           The Company Runs Out of Cash and Files Bankruptcy; Converted from 11 to 7

           2           76.     In June 2012, the California State Franchise Tax Board (“FTB”) filed a notice of lien

           3 against Aletheia with the Los Angeles County Recorder’s Office due to unpaid state income taxes,
           4 asserting an amount due of more than $2 million for income taxes owing from the tax year 2008, and
           5 penalties for the tax years 2010, 2011 and 2012 for late filed returns, according to the Omnibus
           6 Declaration of Peter J. Eichler, Jr. in Support of First Day Motions that Aletheia filed its Bankruptcy
           7 Case (“First Day Declaration”) [Bankruptcy ECF No. 8.] (at ¶ 12).
           8           77.     On or about September 17, 2012, deNeve resigned his positions as Aletheia’s Vice

           9 President and General Counsel, and immediately rejoined O’Melveny as a counsel.
          10           78.     During October 2012, the FTB suspended Aletheia’s corporate status. As a result, the

          11 Proctor Litigation was stayed.
          12           79.     The Company’s bankruptcy Petition Date coincided with the ending of the reprieve

          13 from the Proctor and Peikin litigation matters.
          14           80.     Over the course of the approximately 22 months, from March 2010 to January 2012,

          15 an actual conflict existed, O’Melveny billed and collected from Aletheia more than $9.1 million of
          16 which more than $4.1 million was for its fees and costs in connection with representing Aletheia,
          17 Eichler, Barnes, and Lee in the Proctor Litigation.
          18           81.     The Bankruptcy Case was commenced by the Company’s filing of a voluntary

          19 petition for relief under chapter 11 of the Bankruptcy Code on November 11, 2012. According to
          20 Aletheia’s schedules filed in the Bankruptcy Case, Aletheia had unsecured liquidated debts of
          21 approximately $14 million which, significantly, did not include any amount in respect of the claims
          22 asserted by Proctor or Peikin (who by this time was also in litigation with the Company and Eichler).
          23 Upon information and belief, Aletheia was indebted to one or more creditors at all relevant times.
          24           82.     In the Bankruptcy Case, Eichler attributed Aletheia’s financial collapse to the weight

          25 of litigation matters, and specifically, the Proctor litigation. In his First Day Declaration, Eichler
          26 testified that the “litigation matters have decimated the firm – assets under management have
          27 declined approximately 75% in the last year. Of these, the principal case involves Proctor
          28 Investment Managers, LLC (‘Proctor’), a 10% shareholder in Aletheia.” (First Day Declaration ¶7.)
                                                                  29
                                               CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 32 of 41 Page ID
                                           #:5209


           1          83.     On March 29, 2013, the Bankruptcy Court converted the Bankruptcy Case to a case

           2 under chapter 7 of the Bankruptcy Code, and the Bankruptcy Court appointed Claimant as Trustee in
           3 the chapter 7 case by order dated April 5, 2013.
           4          Claimant, as Trustee, Settles with Proctor

           5          84.     Based on his review of the voluminous records and documents pertaining to the

           6 Proctor Litigation, the Claimant, in his capacity as Trustee, concluded it was highly likely that
           7 Proctor could prove the Company had violated Proctor’s right to dividends as a stockholder,
           8 breached the Side Letter, and breached the Selling Agreement. Claimant concluded that Proctor was
           9 likely to obtain an allowed claim in the Company’s bankruptcy case, in an amount exceeding $45
          10 million, as follows:
          11                  a.     Approximately $27 million owing pursuant to the Revenue Share Resolution;
          12                  b.     Approximately $9 million owing pursuant to the Side Letter;
          13                  c.     Approximately $2.7 million owing for commissions pursuant to the Selling
          14                         Agreement; and

          15                  d.     More than $8 million owing for reimbursement of attorneys’ fees. (Both the
                                     Selling Agreement and the Side Letter provide that the successful party in any
          16                         dispute shall be entitled to recover its attorneys’ fees in addition to damages.)
          17 Claimant’s Motion to Approve Proctor Settlement (Bankruptcy Case Dkt. 383), a true and correct
          18 copy of which is attached hereto as Exhibit P, at p.25.
          19          85.     In addition, Claimant anticipated Proctor’s claim could be allowed in the Bankruptcy
          20 Case in an even higher amount in respect of the following: (i) damages representing Proctor’s
          21 expenses in establishing its sales force and attempting to sell the Company’s products pursuant to the
          22 Selling Agreement; (ii) claims by Proctor for “lost commissions” due to Aletheia’s well documented
          23 refusal to enable Proctor to perform the Selling Agreement, by refusing to provide financial
          24 information and by claiming prior contact with Proctor’s connections; and (iii) punitive damages
          25 based on Eichler’s behavior, and the frivolous nature of the claims that Eichler and O’Melveny
          26 caused the Company to assert, including, without limitation, the claims for rescission asserted by
          27 O’Melveny’s first amended complaint in the California action despite that none of the parties who
          28 sold Proctor the stock were parties or joined to that complaint.
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                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 33 of 41 Page ID
                                           #:5210


           1           86.    Based upon the foregoing, the Trustee concluded it was in the best interests of the

           2 Estate to compromise the Proctor Litigation on the terms set forth in the settlement agreement
           3 between the parties. By that settlement, among other things, Proctor’s claim was allowed as a
           4 general unsecured claim in the Bankruptcy Case in an amount equal to the greater of $21,775,000.00
           5 or 60% of the total pool of non-subordinated, non-priority, general unsecured claims finally allowed
           6 in the Bankruptcy Case. The Bankruptcy Court, having determined that the Proctor Settlement was
           7 reasonable and in the best interest of the Estate’s creditors, approved the settlement by order entered
           8 May 5, 2014.
           9                                                     IV.

          10                                      FIRST CLAIM FOR RELIEF

          11                                    BREACH OF FIDUCIARY DUTY

          12                                         [Against All Respondents]

          13           87.    Claimant realleges and incorporates herein by this reference paragraphs 1 through 86

          14 as though set forth in full.
          15           88.    By virtue of the attorney-client relationship that existed between the Company and

          16 Respondents, Respondents at all relevant times owed the Company fiduciary obligations, including
          17 an unwavering commitment to loyalty, candor, and full disclosure. As such, Respondents were
          18 bound to act in the highest good faith and with the highest regard for Aletheia’s best interests,
          19 placing Aletheia’s best interests above their own, in regard to Respondents’ representation of the
          20 Company in connection with the Proctor Litigation.
          21           89.    The allegations of corporate wrongdoing against Eichler in Proctor’s New York

          22 action, and its cross-claim in the California action, gave rise to an actual conflict of interest. The
          23 conflict of interest presented by the claims asserted in the Proctor Litigation was not subject to
          24 waiver.
          25                  A corporation’s legal advisor must abstain from taking part in
                              controversies among the corporation’s directors and shareholders “to
          26                  avoid placing the … practitioner in a position where he may be
                              required to choose between conflicting duties or attempts to reconcile
          27                  conflicting interests.”[Citation omitted.]
               Gong v. RFG Oil Inc., 166 Cal.App.4th 209, 214 (2008) (emphasis added).
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                                               CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 34 of 41 Page ID
                                           #:5211


           1           90.    By reason of the acts and omissions set forth herein, Respondents breached their

           2 fiduciary obligations to the Company, including breaching their duty to: (1) avoid multiple
           3 representations that created actual conflicts of interest; (2) act in the Company’s best interests
           4 instead of protecting and enabling Eichler’s wrongful conduct to the Company’s detriment; (3) place
           5 the Company’s interests in being represented by attorneys with undivided loyalty to the Company
           6 above Respondents’ interests in billing and collecting fees; and, (4) protect and preserve the
           7 Company’s interests above all others.
           8           91.    O’Melveny undertook to represent concurrently in the Proctor Litigation clients with

           9 adverse positions in violation of Ethical Rule 3-310. The conflict was not waivable and constitutes a
          10 per se serious violation of the California Rules of Professional Conduct. O’Melveny cannot
          11 reasonably contest that it failed to advise the Company of this conflict at the time that it took on this
          12 representation. Moreover, and even assuming that this was a waivable conflict (and it was not),
          13 O’Melveny did not obtain the Company’s “informed written consent” consenting to its jointly
          14 representing the Company and Eichler (among others) in the Proctor Litigation, as would otherwise
          15 be required by Rule 3-310. They did not obtain the Company’s written waiver of any conflict of
          16 interest to allow O’Melveny to simultaneously represent both Eichler and the Company where
          17 Proctor (a minority shareholder), credibly accused Eichler of breach of fiduciary duty, including by
          18 paying himself and others excessive compensation through bonuses, taking personal loans and
          19 paying personal expenses with the Company’s cash. Informed written consent required “informing
          20 the client or former client of the relevant circumstances and of the actual and reasonably foreseeable
          21 adverse consequences to the client….” (Ethical Rule 3-310(A)(1).) Respondents did not so inform
          22 the Company.
          23           92.    Even if the conflict had been disclosed, which it was not, it was not waivable by

          24 Eichler even if it were otherwise waivable by the Company. Indeed, only Eichler signed
          25 O’Melveny’s various engagement agreements for the Company while, in each case, he was also
          26 signing for himself thereby disqualifying him from signing any waiver on the Company’s behalf.
          27 The requirement of a separate signatory for the company who is to be jointly represented is set forth
          28 in Ethical Rule 3-600(E) which provides, in this regard, as follows: where “the organization’s
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                                               CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 35 of 41 Page ID
                                           #:5212


           1 consent to the dual representation is required by rule 3-310, the consent shall be given by an
           2 appropriate constituent of the organization other than the individual or constituent who is to be
           3 [jointly] represented….” (Emphasis added.)
           4           93.    The ethical rules barred Respondents’ joint representation of clients with conflicting

           5 interests under the circumstances here presented. The case law is clear that an attorney may not
           6 concurrently represent a majority shareholder and the corporation at the same time in an action by a
           7 minority shareholder that alleges mismanagement and other direct harm to the corporation.
           8           94.    Respondents violated their undivided duty of loyalty to both the Company and to

           9 Eichler and others. The facts demonstrate that the interests of Eichler and the Company diverged
          10 concerning the substantive matters presented in the Proctor Litigation. Specifically, among other
          11 instances, the interests of the Company and Eichler diverged in light of Proctor’s allegations of
          12 corporate looting and waste alleged in the Proctor Litigation, and which F&M quantified and
          13 O’Melveny analyzed in O’Melveny’s June 22 Memo. Thus, the allegations themselves – without
          14 regard to their truth – created the conflict of interest and invoked the duty of loyalty, which
          15 Respondents breached and abandoned in their zealous representation of Eichler in derogation of their
          16 duty of loyalty to the Company.
          17           95.    Lawyers are not entitled to recover any legal fees for services performed after a serious

          18 violation of ethical rules resulting from a conflict of interest. See Cal Pak Delivery, Inc., 52
          19 Cal.App.4th 1, 15-16 (1997) (“an attorney who engages in conflicting representation without
          20 obtaining informed consent is not entitled to compensation”). Not only was the Company harmed by
          21 Respondents’ breach of fiduciary duty, as described previously, Claimant is entitled to recover by
          22 way of disgorgement from Respondents the more than $9.1 million of legal fees that Respondents
          23 received from or on behalf of the Company since undertaking to jointly represent the Company and
          24 Eichler, and others, in the Proctor Litigation, notwithstanding their disabling conflict of interest. As
          25 explained in Giannini v. Superior Court, 42 Cal.Rptr.2d 394 (Ordered Not Published):
          26                  “[P]recedent teaches that an attorney who has violated his or her duty
                              not to engage in representation that poses a conflict of interest without
          27                  the client’s informed consent is not entitled to a fee for his or her
                              services. (Jeffry v. Pounds, supra, 67 Cal.App.3d 6, 136 Cal.Rptr.373
          28                  [other citations omitted]. . . . . If it is determined that the violation
                                                                 33
                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 36 of 41 Page ID
                                           #:5213

                              occurred, however, it is clear that the injury and damages are proven
           1                  by the amount of attorney’s fees paid for the problematic
                              representation.”
           2
               Id. at 407 (emphasis added).
           3
                      96.     The fact that an insurance company, rather than the Company itself, may have
           4
               provided some of the funding towards the approximately $4 million of payments to O’Melveny for
           5
               legal work in the Proctor Litigation, does not change the fact that O’Melveny must disgorge such
           6
               fees. See David Welch Co. v. Erskine & Tulley (1988) 203 Cal.App.3d 888, 894 (attorney found to
           7
               have breached the ethical rules by accepting employment adverse to a client or former client, ordered
           8
               to disgorge his earnings from other client; the trial court “did not abuse its discretion in ordering the
           9
               constructive trust and directing that defendants disgorge their gains).
          10
                      97.     Respondents’ retention of any of the payments they received from or on behalf of the
          11
               Company constitutes unjust enrichment in light of the facts here presented. See American Master
          12
               Lease LLC v. Idanta Partners, Ltd., 225 Cal.App.4th 1451 (2 Dist., 2014, May 05, 2014).
          13
                      98.     Short of advising the Company of the need for, and the appropriateness of, the
          14
               appointment of an independent person to the Company’s Board to prosecute and protect the
          15
               Company’s claims against Eichler, Respondents could have simply not undertaken to represent the
          16
               Company in the Proctor Litigation, and thereby avoided the conflict. It chose not to forego the
          17
               representation for reasons that are neither apparent nor relevant.
          18
                      99.     As a result of the conflict, O’Melveny failed to preserve or prosecute any of the
          19
               claims it recognized in O’Melveny’s June 22 Memo, which the Company had against Eichler and
          20
               others, which existed at the time that O’Melveny assumed the representation of the Company,
          21
               Eichler and others in the Proctor Litigation. For their part, Olson and deNeve compounded
          22
               O’Melveny’s breach when, after they left O’Melvney and in their capacities as President and
          23
               General Counsel of the Company, respectively, they continued to ignore the harm caused by Eichler
          24
               and other against the Company and exhibited extreme disloyalty to the Company by continuing to
          25
               advance O’Melveny’s and Eichler’s agendas.
          26
                      100.    As a direct, proximate, and substantial cause and result of the acts and conduct set
          27
               forth above, the Company further has suffered injuries and damages in an amount subject to proof at
          28
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                                               CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 37 of 41 Page ID
                                           #:5214


           1 Arbitration, for which Claimant is entitled to recover on behalf of the Estate, including, but not
           2 limited to:
           3                  a.      Loss or diminution of $47 million claim for excessive compensation and
                                      corporate waste of more than $19 million, as documented by O’Melveny, and
           4                          resulting from the running of the statute of limitations and/or Eichler’s having
           5                          dissipated his assets since the time that the Company would have prosecuted
                                      the claim, and recovered, had the Company been represented by conflict-free
           6                          counsel;

           7                  b.      Disgorgement of, at minimum, the $4 million for legal fees and costs paid to
                                      O’Melveny by or on behalf of the Company for O’Melveny’s legal work in
           8                          the Proctor Litigation, and, at maximum, the more than $9.1 million in total
           9                          fees O’Melveny was paid by or on behalf of the Company since undertaking
                                      the conflicted representation, O’Melveny’s retention of which constitutes
          10                          unjust enrichment;

          11                  c.      Disgorgement of the salaries received by Olson and deNeve while President
                                      and General Counsel, respectively, of Aletheia; and
          12
                              d.      Damages, according to proof, resulting from Eichler’s continued looting of the
          13                          Company after the time that Eichler would have been dispossessed of the
          14                          power and opportunity to do so had the Company been represented by
                                      conflict-free counsel.
          15
                      101.    Separate and distinct from, but in addition to, the foregoing, on information and
          16
               belief, Respondents acted with malice, oppression, or fraud, within the meaning of California Civil
          17
               Code Section 3294, which exposed the Company to damages, as described herein, when they
          18
               devised and implemented the wrongful scheme of alleging legally unsustainable causes of action for
          19
               fraud and rescission in their April 14, 2010, complaint, filed on the Company’s behalf against
          20
               Proctor, and in vigorously prosecuting such claims thereafter. On information and belief,
          21
               Respondents prosecuted the legally unsustainable causes of action with the knowledge that such
          22
               claims were legally unsustainable, for the wrongful purpose of hindering and delaying Proctor’s
          23
               prosecution of his claims in order to advance Eichler’s interests in remaining in control of the
          24
               Company, rather than be removed for his wrongful conduct, which provided him the opportunity to
          25
               continue looting the Company, which he continued to do. This wrongful conduct also benefited
          26
               Respondents because Eichler was responsible for directing millions of dollars of legal fees to
          27
               Respondents; the longer he remained in control of the Company the more legal fees the Company
          28
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                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 38 of 41 Page ID
                                           #:5215


           1 would pay to Respondents. Respondents were motivated by this desire to help their favored client,
           2 and thereby maximize legal fees, at the expense of their other client, the Company, to the detriment
           3 of its creditors and shareholders. Eichler did in fact cause millions of dollars of legal fees to be paid
           4 to O’Melveny, and he also caused hundreds of thousands of dollars to be paid to Olson and deNeve
           5 personally.
           6          102.    As a result of the acts and conduct set forth in the immediately preceding paragraph

           7 (“Malicious Conduct”), Claimant, in addition to its actual damages which are recoverable without
           8 regard to any such Malicious Conduct, is entitled to recover damages for the Malicious Conduct,
           9 including for the sake of punishing Respondents, and in order to deter Respondents from similar
          10 future conduct, and in order to make an example of Respondents so that others may be deterred from
          11 similar conduct.
          12
                                                   SECOND CLAIM FOR RELIEF
          13
                                     PROFESSIONAL NEGLIGENCE – MALPRACTICE
          14
                                                      [Against the Respondents]
          15
                      103.    Claimant realleges and incorporates herein by this reference paragraphs 1 through
          16
               102 as though set forth in full.
          17
                      104.    By virtue of the attorney-client relationship that existed between the Company and
          18
               Respondents, Respondents at all relevant times owed the Company fiduciary obligations, including
          19
               an unwavering commitment of loyalty and care. As such, Respondents were bound to act in the
          20
               highest good faith and with the highest regard for Aletheia’s best interests, placing Aletheia’s best
          21
               interests above their own, in regard to Respondents’ representation of the Company in connection
          22
               with the Proctor Litigation
          23
                      105.    By reason of the acts and omissions set forth herein, Respondents committed
          24
               professional negligence arising from their conflict of interest, including breaching their duty to: (1)
          25
               competently represent the Company; (2) avoid multiple representations that posed or created
          26
               conflicts of interest; (3) act in the Company’s best interests instead of protecting and enabling
          27
               Eichler’s wrongful conduct to the Company’s detriment; (4) place the Company’s interests in being
          28
                                                                  36
                                                  CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 39 of 41 Page ID
                                           #:5216


           1 represented by attorneys with undivided loyalty to the Company above Respondents’ interests in
           2 billing and collecting fees; and, (5) protect and preserve the Company’s interests above all others.
           3           106.   As the Company’s counsel, O’Melveny breached its duty of care which required that

           4 it take appropriate action to prosecute or preserve the significant claims it recognized the Company,
           5 its client, had against Eichler and others. The loss of these claims resulted from O’Melveny’s
           6 misconduct, which allowed for the running of the statute of limitations and/or Eichler’s having
           7 dissipated his assets since the time that the Company would have prosecuted the claim had the
           8 Company been represented by conflict-free counsel, at which time, on information and belief, such
           9 claims against Eichler would have been collectable.
          10           107.   The Company would have prevailed against Eichler and others in an action to recover

          11 the monies looted by them because the corporate agreements in place at the time expressly
          12 prohibited the payments made by them, and there was no valid defense for their conduct. As a
          13 matter of law, rescission (so as to justify post hoc Eichler’s breaches) was not and is not available.
          14           108.   On information and belief, had O’Melveny brought these claims in April 2010, when

          15 it took on its conflicted representation of the Company and Eichler and others, the claim would have
          16 been collectible.
          17           109.   As a direct, proximate, and substantial cause and result of the acts and conduct set

          18 forth above, the Company has suffered injuries and damages in an amount subject to proof at
          19 Arbitration, for which Claimant is entitled to recover on behalf of the Estate, including, but not
          20 limited to:
          21                  a.      Loss or diminution of $47 million claim for excessive compensation and
                                      corporate waste of more than $19 million, as documented by O’Melveny, and
          22                          resulting from the running of the statute of limitations and/or Eichler’s having
          23                          dissipated his assets since the time that the Company would have prosecuted
                                      the claim, and recovered, had the Company been represented by conflict-free
          24                          counsel; and

          25                  b.      Damages, according to proof, resulting from Eichler’s continued looting of the
                                      Company after the time that Eichler would have been dispossessed of the
          26                          power and opportunity to do so had the Company been represented by
          27                          conflict-free counsel.

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                                              CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 40 of 41 Page ID
                                           #:5217


           1                                                    V.

           2                                        PRAYER FOR RELIEF

           3
                      WHEREFORE, The Trustee respectfully prays for judgment against the Respondents as
           4
               follows:
           5
                      1.      On the First Claim for Relief for Breach of Fiduciary Duty, for compensatory and
           6
               general damages according to proof, including, without limitation, the following:
           7
                              a.     Loss or diminution of $47 million claim for excessive compensation and
           8                         corporate waste of more than $19 million, as documented by O’Melveny, and
                                     resulting from the running of the statute of limitations and/or Eichler’s having
           9
                                     dissipated his assets since the time that the Company would have prosecuted
          10                         the claim, and recovered, had the Company been represented by conflict-free
                                     counsel;
          11
                              b.     Disgorgement of, at minimum, the $4 million for legal fees and costs paid to
          12                         O’Melveny by or on behalf of the Company for O’Melveny’s legal work in
                                     the Proctor Litigation, and, at maximum, the approximately $9.1 million in
          13                         total fees O’Melveny was paid by or on behalf of the Company since
          14                         undertaking the conflicted representation, O’Melveny’s retention of which
                                     constitutes unjust enrichment;
          15
                              c.     Disgorgement of the salaries received by Olson and deNeve while President
          16                         and General Counsel, respectively, of Aletheia, the retention of which
                                     constitutes unjust enrichment;
          17
                              d.     Damages, according to proof, resulting from Eichler’s continued looting of the
          18
                                     Company after the time that Eichler would have been dispossessed of the
          19                         power and opportunity to do so had the Company been represented by
                                     conflict-free counsel;
          20
                              e.     And, separate and distinct from, but in addition to, the foregoing, punitive
          21                         damages for the Malicious Conduct, including for the sake of punishing
                                     Respondents, and in order to deter Respondents from similar future conduct,
          22                         and in order to make an example of Respondents so that others may be
          23                         deterred from similar conduct.
                      2.      On the Second Claim for Relief for Professional Negligence – Malpractice, for
          24
          25 compensatory and general damages according to proof, including, without limitation, the following:
          26                 a.      Loss or diminution of $47 million claim for excessive compensation and
                                     corporate waste of more than $19 million, as documented by O’Melveny, and
          27                         resulting from the running of the statute of limitations and/or Eichler’s having
                                     dissipated his assets since the time that the Company would have prosecuted
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                                             CLAIMANT’S STATEMENT OF CLAIMS
1396729
          Case 2:14-cv-08725-CAS-AGR Document 84-3 Filed 09/09/19 Page 41 of 41 Page ID
                                           #:5218

                                    the claim, and recovered, had the Company been represented by conflict-free
           1                        counsel; and
           2               b.       Damages, according to proof, resulting from Eichler’s continued looting of the
           3                        Company after the time that Eichler would have been dispossessed of the
                                    power and opportunity to do so had the Company been represented by
           4                        conflict-free counsel.

           5         3.     For its cost of suit; and

           6         4.     For such other and further relief as the Arbitrator may award.

           7
           8 Respectfully submitted, September 25, 2015
           9                                              EZRA BRUTKUS GUBNER LLP

          10
          11                                              By: _________________________________
                                                                Steven T. Gubner
          12                                                    Larry W. Gabriel
                                                                Jerrold L. Bregman
          13                                                    Jason B. Komorsky
                                                          Special Litigation Counsel for Claimant
          14                                              Jeffrey I. Golden, Chapter 7 Trustee

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                                             CLAIMANT’S STATEMENT OF CLAIMS
1396729
